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				IN RE APPROVAL OF UNIFORM YOUTHFUL OFFENDER PLEA OF GUILTY ORDER/ADDENDUMS2024 OK 5Case Number: Decided: 02/12/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 5, __ P.3d __

				

In re: Approval of Uniform Youthful Offender Plea of Guilty Order/ Addendums
ORDER
¶1 The Court has reviewed the recommendation of the Oklahoma Supreme Court Juvenile Justice Oversight and Advisory Committee and hereby adopts the attached order and addendums for youthful offender plea of guilty, effective May 1, 2024.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 12th day of February, 2024.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.






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